                         Case 24-12829-nmc                  Doc 1       Entered 06/05/24 02:53:16                   Page 1 of 27


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                DTH 215 VENTURE, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  718 W. BUSINESS HIGHWAY 60                                      P.O. BOX 639
                                  DEXTER, MO 63841                                                DEXTER, MO 63841
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Stoddard                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  215 S. WATER STREET HENDERSON, NV
                                                                                                  89015-7226
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    DTH 215 VENTURE, LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor    DTH 215 VENTURE, LLC                                                                            Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   DTH 215 VENTURE, LLC                                                     Case number (if known)
         Name

                           $50,001 - $100,000                         $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                           $100,001 - $500,000                        $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                           $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion




Official Form 201                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
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Debtor    DTH 215 VENTURE, LLC                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 5, 2024
                                                  MM / DD / YYYY


                             X /s/ NATALIE RILEY                                                          NATALIE RILEY
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   AUTHORIZED AGENT




18. Signature of attorney    X /s/ NORMA GUARIGLIA                                                         Date June 5, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 NORMA GUARIGLIA
                                 Printed name

                                 HARRIS LAW PRACTICE LLC
                                 Firm name

                                 850 E. PATRIOT BLVD.
                                 SUITE F
                                 Reno, NV 89511
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     775-786-7600                  Email address      norma@harrislawreno.com

                                 16244 NV
                                 Bar number and State




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Fill in this information to identify the case:

Debtor name         DTH 215 VENTURE, LLC

United States Bankruptcy Court for the:     DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 5, 2024                    X /s/ NATALIE RILEY
                                                           Signature of individual signing on behalf of debtor

                                                            NATALIE RILEY
                                                            Printed name

                                                            AUTHORIZED AGENT
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name DTH 215 VENTURE, LLC
 United States Bankruptcy Court for the: DISTRICT OF NEVADA                                                                                  Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 ACADEMY STONE     Brian Wojcik      SUBCONTRACTO                              Contingent                                                                      $119,400.45
 AND TILE, INC.                      R                                         Unliquidated
 5925 W. WIGWAM    brian@astinclv.co                                           Disputed
 AVENUE #2         m
 LAS VEGAS, NV     702-362-8453
 89139
 AKM GRADING       Anthony McGovern SUBCONTRACTO                               Contingent                                                                      $157,326.22
 7516 MAIDEN RUN                     R                                         Unliquidated
 AVENUE            akmgrading@gmail                                            Disputed
 LAS VEGAS, NV     .com
 89130             702-858-2111
 BRIGHTVIEW        Vincent Whipkey   SUBCONTRACTO                              Contingent                                                                      $152,179.80
 LANDSCAPE                           R                                         Unliquidated
 DEVELOPMENT,      vincent.whipkey@b                                           Disputed
 INC.              rightview.com
 1220 S. COMMERCE 702-597-2556
 STREET
 SUITE 120
 LAS VEGAS, NV
 89102
 CONCRETE                            SUBCONTRACTO                              Contingent                                                                      $125,801.59
 ACCESSORIES, INC.                   R                                         Unliquidated
 P.O. BOX 27710                                                                Disputed
 LAS VEGAS, NV
 89126
 CRAGIN & PIKE     Daniell Black     BUILDER'S RISK                                                                                                            $133,682.95
 10000 W.                            INSURANCE
 CHARLESTON
 BLVD.,            702-877-1111
 SUITE 200
 LAS VEGASD, NV
 89135




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    DTH 215 VENTURE, LLC                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 FINNCO SERVICES           Cynthia Finnerty          SUBCONTRACTO              Contingent                                                                        $61,761.13
 INC.                                                R                         Unliquidated
 C/O NORTHWEST             admin@finncoservi                                   Disputed
 REGISTRED                 ces.com
 AGENT, LLC                909-355-0707
 401 RYLAND
 STREET, STE. 200 A
 RENO, NV 89502
 FOCUS PLUMBING            Sean Butler               SUBCONTRACTO              Contingent                                                                      $213,527.38
 LLC                                                 R                         Unliquidated
 C/O CT                    sbutler@lv61.com                                    Disputed
 CORPORATION               702-710-4420
 SYSTEM
 701 S. CARSON
 STREET
 SUITE 200
 CARSON CITY, NV
 89701
 JONES LOVELOCK            Donna DiMaggio            LEGAL FEES                                                                                                  $63,576.99
 6600 AMELIA
 EARHART COURT
 SUITE A                   702-805-8450
 LAS VEGAS, NV
 89119
 MCINTOSH                  Patricia McIntosh         SUBCONTRACTO              Contingent                                                                        $92,640.38
 COMMUNICATIONS                                      R                         Unliquidated
 INC.                      pattym@mcintoshc                                    Disputed
 C/O KAEMPFER              omm.com
 CROWELL, LTD.,            702-253-5390
 REG. AGENT
 50 W. LIBERTY
 STREET
 SUITE 1100
 RENO, NV 89501
 NVISION GLASS,            Michelle Anderson         SUBCONTRACTO              Contingent                                                                      $164,667.30
 INC.                                                R                         Unliquidated
 C/O MAUPIN, COX           michellea@nvision                                   Disputed
 & LEGOY, PC, REG.         glass.com
 AGENT                     775-336-2881
 4785 CAUGHLIN
 PKWY
 RENO, NV 89519
 ONE STOP 4                Cindy Shinn               SUBCONTRACTO              Contingent                                                                      $337,648.74
 FLOORING, LLC                                       R                         Unliquidated
 2671 STATE ROUTE          dincy@onestop4flo                                   Disputed
 39 NW                     oring.com
 DOVER, OH 44622           725-200-3000




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    DTH 215 VENTURE, LLC                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 PGS WESTSIDE II,          David Johnson,            SUBCONTRACTO              Contingent                                                                      $128,010.36
 INC. - LAS VEGAS          Esq., Lanak &             R                         Unliquidated
 6460 SANTA                Hanna, PC                                           Disputed
 MARGARITA
 STREET
 LAS VEGAS, NV             714-620-2350
 89118-1802
 R.L. CUSHING              Mitchell Eritz            SUBCONTRACTO              Contingent                                                                      $113,949.36
 MILLWORK                                            R                         Unliquidated
 555 SKEENA                mitchell@cushion                                    Disputed
 STREET EAST               millwork.ca
 MOOSEJAW,                 306-692-2396
 SASKATCHEWAN
 CANADA S6H 0A6
 RESIDENTIAL FIRE                                    SUBCONTRACTO              Contingent                                                                        $65,395.19
 PROTECTION DBA                                      R                         Unliquidated
 ON GUARD                                                                      Disputed
 FIRE PROTECTION
 6438 ARVILLE
 STREET
 LAS VEGAS, NV
 89118
 STRADA LV, LLC                                      PROFESSIONAL                                                                                              $308,585.56
 6970 S. CIMARRON                                    SERVICES
 ROAD #220
 LAS VEGAS, NV
 89113
 THREE LOCK BOX                                      OVERAGE FEES                                                                                                $78,279.00
 2260 CORPORATE
 CIRCLE STE. 490
 HENDERSON, NV
 89074
 WAYFAIR                   Conor McBrierty           ADDITIONAL                                                                                                $148,988.84
 4 COPLEY PLACE                                      STORAGE
 FLOOR 7                   cmcbrierty@wayfai
 BOSTON, MA 02116          r.com
                           857-306-3995
 WEST COAST                Rick Hoskins      GYM EQUIPMENT                                                                                                       $79,495.23
 WELLNESS
 EQUIPMENT                 rick@wcwes.com
 6969 SPEEDWAY
 BLVD., SUITE 108
 LAS VEGAS, NV
 89115
 WESTCORP                  Robert Weidauer           PRELEASING                                                                                                  $47,990.00
 MANAGEMENT                                          AND MARKETING
 GROUP ONE, INC.
 6655 S. EASTERN           702-307-2881
 AVENUE
 SUITE 200
 LAS VEGAS, NV
 89119


Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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 Debtor    DTH 215 VENTURE, LLC                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 WORTH GROUP               Travis Bryan              ARCHITECT OF              Contingent                                                                      $114,059.86
 ARCHITECTS                                          RECORD                    Unliquidated
 7535 E. HAMPDEN                                                               Disputed
 AVENUE                    702-869-9354                                        Subject to
 SUITE 302                                                                     Setoff
 DENVER, CO 80231




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 4
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                     District of Nevada
 In re       DTH 215 VENTURE, LLC                                                                             Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 ACTUAL
                                                                                                                         FEES/COSTS
             Prior to the filing of this statement I have received                                        $                      50,000
             Balance Due                                                                                  $               UNKNOWN

2.   The source of the compensation paid to me was:
                  Debtor             Other (specify):      HOLDEN FAMILY, LLC, MEMBER OF LEGACY HENDERSON QOF, LLC

3.   The source of compensation to be paid to me is:
                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]


6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtor in any adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     June 4, 2024                                                             /s/ NORMA GUARIGLIA
     Date                                                                     NORMA GUARIGLIA
                                                                              Signature of Attorney
                                                                              HARRIS LAW PRACTICE LLC
                                                                              850 E. PATRIOT BLVD.
                                                                              SUITE F
                                                                              Reno, NV 89511
                                                                              775-786-7600 Fax: 775-786-7764
                                                                              norma@harrislawreno.com
                                                                              Name of law firm
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                                                United States Bankruptcy Court
                                                         District of Nevada
 In re   DTH 215 VENTURE, LLC                                                              Case No.
                                                                 Debtor(s)                 Chapter     11




                                 VERIFICATION OF CREDITOR MATRIX


I, the AUTHORIZED AGENT of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




Date:    June 5, 2024                                 /s/ NATALIE RILEY
                                                      NATALIE RILEY/AUTHORIZED AGENT
                                                      Signer/Title
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                  DTH 215 VENTURE, LLC
                  P.O. BOX 639
                  DEXTER, MO 63841

                  NORMA GUARIGLIA
                  HARRIS LAW PRACTICE LLC
                  850 E. PATRIOT BLVD.
                  SUITE F
                  RENO, NV 89511

                  INTERNAL REVENUE SERVICE
                  P O BOX 7346
                  PHILADELPHIA, PA 19101-7346

                  NEVADA DEPARTMENT OF MOTOR VEHICLES
                  LEGAL DIVISION
                  855 WRIGHT WAY
                  CARSON CITY, NV 89711

                  NEVADA DEPARTMENT OF TAXATION
                  BANKRUPTCY SECTION
                  555 E. WASHINGTON
                  STE 1300
                  LAS VEGAS, NV 89101

                  NEVADA LABOR COMMISSION
                  1818 E. COLLEGE DRIVE
                  #102
                  CARSON CITY, NV 89706

                  OFFICE OF THE UNITED STATES TRUSTEE
                  300 BOOTH STREET ROOM 3009
                  RENO, NV 89509

                  5G FIRE, LLC
                  P.O. BOX 92354
                  HENDERSON, NV 89009

                  5G FIRE, LLC
                  7375 COMMERCIAL WAY #140
                  HENDERSON, NV 89011

                  ACADEMY STONE AND TILE, INC.
                  5925 W. WIGWAM AVENUE #2
                  LAS VEGAS, NV 89139

                  ACRES CAPITAL, LLC
                  ATTENTION: JACLYN JESBERGER, ESQ.
                  865 MERRICK AVENUE, SUITE 200S
                  WESTBURY, NY 11590

                  ACRES LOAN ORIGINATION, LLC
                  390 RXR PLAZA
                  UNIONDALE, NY 11556
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              ACRES LOAN ORIGINATION, LLC
              ATTN: MARK FOGEL
              865 MERRICK AVENUE, SUITE 200S
              WESTBURY, NY 11590

              AFFORDABLE STRIPING & SEALING, LLC
              4440 E. ALEXANDER ROAD
              SUITE A
              LAS VEGAS, NV 89115

              AKM GRADING
              7516 MAIDEN RUN AVENUE
              LAS VEGAS, NV 89130

              ALBRIGHT STODDARD WARNICK & ALBRIGHT
              D. CHRIS ALBRIGHT, ESQ.
              801 SOUTH RANCHO RIVE, SUITE D-4
              LAS VEGAS, NV 89106

              ALUMA SYSTEMS CONCRETE CONSTRUCTION OF
              CALIFORNIA, INC.
              C/O P.O. BOX 214566
              CLEVELAND, OH 44124

              AMAYA ROOFING & WATERPROOFING, INC.
              C/O ERIC DOBBERSTEIN, PLLC, REG. AGENT
              9480 S. EASTERN AVENUE, #225
              LAS VEGAS, NV 89123

              AMERICAN EAGLE READY MIX, LLC
              120 W. DELHI AVENUE
              NORTH LAS VEGAS, NV 89032

              ARIES CONSULTANTS INC.
              6635 WEST BADURA STREET
              SUITE A-140
              LAS VEGASD, NV 89118

              ATLAS MECHANICAL, INC.
              8260 CAMINO SANTA FE
              SUITE B
              SAN DIEGO, CA 92121

              BOA2, LLC
              5878 N. HIGH STREET
              COLUMBUS, OH 43085

              BRIGHTVIEW LANDSCAPE DEVELOPMENT, INC.
              1220 S. COMMERCE STREET
              SUITE 120
              LAS VEGAS, NV 89102
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              BRYAN CAVE LEIGHTON PAISNER LLP
              ATTN: KAMAO SHAW, ESQ.
              1920 MAIN STREET, STE. 1000
              IRVINE, CA 92614

              BRYAN CAVE LEIGHTON PAISNER LLP
              ATTN: SEAN K. MCELLENNEY
              TWO NORTH CENTRAL AVENUE
              SUITE 2100
              PHOENIX, AZ 85004-4406

              CAPITAL BUILDERS HARDWARE INC. LV
              2505 CHANDLER AVENUE
              UNIT 114
              LAS VEGAS, NV 89120

              CHERRY BAEKERT, LLP
              P.O. BOX 25549
              RICHMOND, VA 23260-5500

              CIRCINI FOUNDATION, LLC
              18 PRIDES CIRCLE
              ANDOVER, MA 01810

              CITY OF HENDERSON
              240 S. WATER STREET
              HENDERSON, NV 89015

              CITY OF HENDERSON UTILITY SERVICES
              ACCT NO. XXXXX8774
              240 S. WATER STREET
              HENDERSON, NV 89015

              CLARK COUNTY LEGAL NEWS
              433 CONCORD WAY
              HENDERSON, NV 89015-6072

              CLARK COUNTY TREASURER
              500 S. GRAND PKWY
              SUITE 1
              LAS VEGAS, NV 89155

              CMC REBAR
              4485 E. COLTON AVENUE
              LAS VEGAS, NV 89115

              CMC STEEL FABRICATORS
              6565 N. MACARTHUR BLVD.
              SUITE 800
              PHOENIX, AZ 85039-6283
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              COGENCY GLOBAL
              122 42ND STREET
              18TH FLOOR
              ACCT NO. XXXXXX-XPS2E
              NEW YORK, NY 10168

              CONCRETE ACCESSORIES, INC.
              P.O. BOX 27710
              LAS VEGAS, NV 89126

              CONTROLWORKS, INC.
              6207 DEAN MARTIN DRIVE
              LAS VEGAS, NV 89118

              COPPERLEAF QOF HOLDINGS, LLC
              718 W. BUSINESS HWY 60
              P.O. BOX 639
              DEXTER, MO 63841

              COX BUSINESS
              ACCT NO. XXX XXXX XXXXX9301
              DEPARTMENT #102276
              P.O. BOX 1259
              OAKS, PA 19456

              COX COMMUNICATIONS LAS VEGAS, INC.
              6204-B PEACHTREE DUNWOODY ROAD
              ATLANTA, GA 30328

              CRAGIN & PIKE
              10000 W. CHARLESTON BLVD.,
              SUITE 200
              LAS VEGASD, NV 89135

              D23 SYSTEMS LLC
              10040 W. CHEYENNE AVENUE
              SUITE 170-32
              LAS VEGAS, NV 89129

              DAVIS STIBOR
              SHAN DAVIS
              10845 GRIFFITH PEAK DRIVE
              SECOND FLOOR
              LAS VEGAS, NV 89135-8000

              DTH 215 DEVELOPMENT, LLC
              11261 CAMPSIE FELLS COURT
              LAS VEGAS, NV 89141

              ECOACHIEVER
              4444 SECOND AVENUE
              DETROIT, MI 48201
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              ENVIDA
              15230 N. 75TH STREET
              SUITE 1030
              SCOTTSDALE, AZ 85260

              FERGUSON FIRE & FABRICATION, INC.
              C/O MAIL CENTER
              9450 SW GEMINI DRIVE #7790
              BEAVERTON, OR 97008-7105

              FINNCO SERVICES INC.
              C/O NORTHWEST REGISTRED AGENT, LLC
              401 RYLAND STREET, STE. 200 A
              RENO, NV 89502

              FIRST AMERICAN TITLE INSURANCE COMPANY
              9255 TOWN CENTER DRIVE, SUITE 200
              SAN DIEGO, CA 92121

              FOCUS PLUMBING LLC
              C/O CT CORPORATION SYSTEM
              701 S. CARSON STREET
              SUITE 200
              CARSON CITY, NV 89701

              FOX ROTHSCHILD
              1980 FESTIVAL PLAZA DRIVE, SUITE 700
              LAS VEGAS, NV 89135

              GILLETT CONSTRUCTION
              1226 WIGWAM PARKWAY
              HENDERSON, NV 89074

              GILLETT CONSTRUCTION
              259 DOMINICAN AVENUE
              HENDERSON, NV 89002

              GILLETT CONSTRUCTION - THREE LOCK BOX
              2260 CORPORATE CIRCLE STE 490
              HENDERSON, NV 89074

              GLOBAL CORPORATE SERVICES
              GCS SECURITY
              3 SUNSET WAY, SUITE 12A
              HENDERSON, NV 89014

              HAUS OF REED
              3655 E. PATRICK LANE
              LAS VEGAS, NV 89120

              HELIX ELECTRIC
              3078 E. SUNSET ROAD, SUITE 9
              LAS VEGAS, NV 89120
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              HENRI SPECIALTIES CO., INC.
              C/O LEVY LAW, LLC, REG. AGENT
              601 CADENCE VISTA DRIVE
              HENDERSON, NV 89011-1000

              HOLDEN, STEPHEN
              P.O. BOX 639
              DEXTER, MO 63841

              INTACT INSURANCE
              C/O INTACT SERVICES USA LLC
              P.O. BOX 371871
              PITTSBURGH, PA 15250-7871

              J-CORD LLC
              261 SUNPAC AVENUE
              HENDERSON, NV 89011

              J.S & S INC.
              C/O RAYMOND JEMISON, REG. AGENT
              2690 CRIMSON CANYON DRIVE
              LAS VEGAS, NV 89128

              JEFFREY M. CRUDEN
              9773 SONORA BEND AVENUE
              LAS VEGAS, NV 89148

              JGL GROUP, LLD DBA ECO ACHIEVERS
              1647 W. FULTON STREET
              CHICAGO, IL 60612

              JONES LOVELOCK
              6600 AMELIA EARHART COURT
              SUITE A
              LAS VEGAS, NV 89119

              KAEMPFER CROWELL
              1980 FESTIVAL PLAZA DRIVE, SUITE 650
              LAS VEGAS, NV 89135

              KILLIAN CONSTRUCTION COMPANY
              ACCT NO. X4-195
              2664 E. KEARNEY
              SPRINGFIELD, MO 65803

              L&W SUPPLY CORPORATION
              4450 MCGUIRE STREET
              NORTH LAS VEGAS, NV 89081-2710

              LANAK & HANNA, P.C.
              DAVID R. JOHNSON, ESQ.
              10781 WEST TWAIN AVENUE
              LAS VEGAS, NV 89135
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              LEGACY HENDERSON QOF, LLC
              718 W. BUSINESS HWY 60
              P.O. BOX 639
              DEXTER, MO 63841

              LOCHSA ENGINEERING
              Acct No xxxx98.00
              6345 S. JONES BLVD., SUITE 100
              LAS VEGAS, NV 89118

              LUXER ONE
              5040 DUDLEY BLVD.
              MCCLELLAN PARK, CA 95652

              LYNCH LAW PRACTICE PLLC
              MICHAEL F. LYNCH
              3613 S. EASTERN AVENUE
              LAS VEGAS, NV 89169

              MACHABEE OFFICE ENVIRONMENTS
              6435 SUNSET CORPORATE DRIVE
              LAS VEGAS, NV 89120

              MCINTOSH COMMUNICATIONS INC.
              C/O KAEMPFER CROWELL, LTD., REG. AGENT
              50 W. LIBERTY STREET
              SUITE 1100
              RENO, NV 89501

              MCKEON DOOR OF NEVADA, INC.
              6671 SCHUSTER STREET
              LAS VEGAS, NV 89118

              MDC INTERIOR SOLUTIONS
              400 HIGH GROVE BLVD.
              GLENDALE HEIGHTS, IL 60139

              MINNICK MANAGEMENT
              3541 STEVENS WAY
              AUGUSTA, GA 30907

              NDX, LLC
              P.O. BOX 241566
              CLEVELAND, OH 44124

              NEXT CENTURY REBAR, LLOC
              820 WIGWAM, SUITE 100
              HENDERSON, NV 89074

              NOVOGRADAC
              P.O. BOX 7833
              ACCT NO. XXW100
              SAN FRANCISCO, CA 94120-7833
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              NVISION GLASS, INC.
              C/O MAUPIN, COX & LEGOY, PC, REG. AGENT
              4785 CAUGHLIN PKWY
              RENO, NV 89519

              ONE STOP 4 FLOORING, LLC
              2671 STATE ROUTE 39 NW
              DOVER, OH 44622

              PAR 3 LANDSCAPE & MAINTENANCE, INC.
              4610 WYNN ROAD
              LAS VEGAS, NV 89103

              PARKER, NELSON & ASSOCIATES, CHTD.
              2460 PROFESSIONAL COURT, SUITE 200
              LAS VEGAS, NV 89128

              PARKWAY TAVERN
              PKWY MANAGEMENT, LLC
              C/O CASANDRA LUPO, REG. AGENT
              7120 RAFAEL RIDGE WAY
              LAS VEGAS, NV 89119

              PGS WESTSIDE II, INC. - LAS VEGAS
              6460 SANTA MARGARITA STREET
              LAS VEGAS, NV 89118-1802

              PPG ARCHITECTURAL FINISHES, INC.
              C/O P.O. BOX 241566
              CLEVELAND, OH 44124

              R & M LAW GROUP, LLC
              718 W. BUSINESS HWY 60
              DEXTER, MO 63841

              R.L. CUSHING MILLWORK
              555 SKEENA STREET EAST
              MOOSEJAW, SASKATCHEWAN
              CANADA S6H 0A6

              RELIABLE CRANE SERVICES, LLC
              7582 S. LAS VEGAS BLVD.
              SUITE 527
              LAS VEGAS, NV 89123

              RESIDENTIAL FIRE PROTECTION DBA ON GUARD
              FIRE PROTECTION
              6438 ARVILLE STREET
              LAS VEGAS, NV 89118

              RYERSON CONCRETE LLC
              3566 POLARIS AVENUE
              SUITE 1
              LAS VEGAS, NV 89103
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              SALSBURY INDUSTRIES
              18300 CENTRAL AVENUE
              CARSON, CA 90746-4008

              SCHINDLER ELEVATOR CORPORATION
              6265 S. VALLEY VIEW BLVD., H
              LAS VEGAS, NV 89118

              SCHNITZER JOHNSON & WATSON, CHTD.
              GARY E. SCHNITZER, ESQ.
              8985 SOUTH EASTERN AVENUE, SUITE 200
              LAS VEGAS, NV 89123

              SCOTT ZEMP MASONRY, INC.
              C/O SCOTT A. ZEMP
              6031 MCLEOD DRIVE
              LAS VEGAS, NV 89120

              SIXTY WEST CRESCENT FUND, LLC
              718 W. BUSINESS HWY 60
              P.O. BOX 639
              DEXTER, MO 63841

              SIXTY WEST FUNDS
              718 W. BUSINESS HWY 60
              P.O. BOX 639
              DEXTER, MO 63841

              SOUTHERN NEVADA WELDING
              4115 ARTIC SPRING AVENUE
              LAS VEGAS, NV 89115

              SPORTSWORKS GLOBAL LLC
              15540 WOODINVILLE REDMOND ROAD NE
              SUITE A-200
              WOODINVILLE, WA 98072

              STRADA DEVELOPMENT GROUP
              215 SOUTH WATER STREET
              HENDERSON, NV 89014-5000

              STRADA LV, LLC
              6970 S. CIMARRON ROAD #220
              LAS VEGAS, NV 89113

              STRADA LV, LLC
              11261 CAMPSIE FELLS CT.
              LAS VEGAS, NV 89141

              SUPPLY NETWORK, INC DBA VIKING SUPPLYNET
              C/O P.O. BOX 241566
              CLEVELAND, OH 44124
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              THE BIG SIPPER, LLC
              C/O KELLY J. WHITTEKIEND, REG. AGENT
              5624 FOXLOVE FIELDS
              LAS VEGAS, NV 89130

              THREE LOCK BOX
              2260 CORPORATE CIRCLE STE. 490
              HENDERSON, NV 89074

              TIGER QOF HOLDINGS, LLC
              718 W. BUSINESS HWY 60
              P.O. BOX 639
              DEXTER, MO 63841

              UNITECH ELECTRONICS INC.
              3064 W. POST ROAD
              LAS VEGAS, NV 89118

              UNITED RENTALS (NORTH AMERICA), INC.
              10330 DAVID TAYLOR DRIVE
              CHARLOTTE, NC 28262

              UNIVERSAL ENGINEERING SCIENCES
              4480 W. HACIENDA AVENUE
              LAS VEGAS, NV 89118

              VINE INVESTMENT FUND P169, LLC
              718 W. BUSINESS HWY 60
              P.O. BOX 639
              DEXTER, MO 63841

              VISION SIGNS INC.
              6630 ARROYO SPRINGS STREET
              SUITE 600
              LAS VEGAS, NV 89113

              WALLACE ENTERPRISES L.L.C.
              C/O MARVIN WALLACE, REG. AGENT
              1005 PARTLOW COURT
              HENDERSON, NV 89015

              WAYFAIR
              4 COPLEY PLACE
              FLOOR 7
              BOSTON, MA 02116

              WDG LIMITED
              ACCT NO. XX4107
              7435 S. DURANGO #B107-339
              LAS VEGAS, NV 89113

              WEBSQUAD
              5151 S. PROCYON STREET
              SUITE 214
              LAS VEGAS, NV 89118
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              WEST COAST WELLNESS EQUIPMENT
              6969 SPEEDWAY BLVD., SUITE 108
              LAS VEGAS, NV 89115

              WESTCORP MANAGEMENT GROUP ONE, INC.
              6655 S. EASTERN AVENUE
              SUITE 200
              LAS VEGAS, NV 89119

              WORTH GROUP ARCHITECTS
              7535 E. HAMPDEN AVENUE
              SUITE 302
              DENVER, CO 80231

              WUCHERER, THOMAS A.
              48 PANORAMA CREST AVENUE
              LAS VEGAS, NV 89135

              ZILLOW, INC.
              ACCT NO. XXX-XXXXXXX-XXX-XXX0757
              P.O. BOX 737412
              DALLAS, TX 75373-7412
                Case 24-12829-nmc          Doc 1      Entered 06/05/24 02:53:16          Page 27 of 27




                                         United States Bankruptcy Court
                                                   District of Nevada
 In re   DTH 215 VENTURE, LLC                                                       Case No.
                                                            Debtor(s)               Chapter     11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for DTH 215 VENTURE, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
BOA2, LLC
5878 N. HIGH STREET
COLUMBUS, OH 43085
COPPERLEAF QOF HOLDINGS, LLC
718 W. BUSINESS HWY 60
P.O. BOX 639
DEXTER, MO 63841
SIXTY WEST CRESCENT FUND, LLC
718 W. BUSINESS HWY 60
P.O. BOX 639
DEXTER, MO 63841
VINE INVESTMENT FUND P169, LLC
718 W. BUSINESS HWY 60
P.O. BOX 639
DEXTER, MO 63841




  None [Check if applicable]




June 5, 2024                                   /s/ NORMA GUARIGLIA
Date                                           NORMA GUARIGLIA
                                               Signature of Attorney or Litigant
                                               Counsel for DTH 215 VENTURE, LLC
                                               HARRIS LAW PRACTICE LLC
                                               850 E. PATRIOT BLVD.
                                               SUITE F
                                               Reno, NV 89511
                                               775-786-7600 Fax:775-786-7764
                                               norma@harrislawreno.com
